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 6
                               UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      CR. No.: 16-cr-009 TLN

11                Plaintiff,                        ORDER SEALING DOCUMENTS AS
12                                                  SET FORTH IN THE PARTIES’ NOTICE
            vs.
13
14   JOSE RODRIGUEZ-RODRIGUEZ,

15                Defendant.
16
17                Pursuant to Local Rule 141(b) and based upon the representations

18   contained in Defendant’s Request to Seal and the factors set forth in In Re Copley Press,

19   Inc., 518 F.3d 1022, 1028 (9th Cir. 2008), IT IS HEREBY ORDERED that defendant

20   Jose Rodriguez-Rodriguez’ Sentencing Memorandum and corresponding Request to Seal

21   shall be SEALED until further order of this Court. See also, United States v. John Doe,

22   2017 WL 3996799 (9th Cir. Sept. 12, 2017)

23         It is further ordered that access to the sealed documents shall be limited to the

24   United States and counsel for the defendant.

25   Dated: September 11, 2019

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                                         Troy L. Nunley
                                         United States District Judge
